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United States District Court

bispectral capa DIVISION
Wo . vw
UNITED STATES OF AMERICA

Vv. my JUN -4 A * 12 WARRANT FOR ARREST

Memmott DISTRICT OF UTAH

To: The United States Marshal

Vo eer enero (CASE NUMBER: 2:08-cr-00856-001-TC
ACPUTY CLERK
and any Authorized United States Officer

ORIGINAL

PAUL ANDREW MEMMOTT

Name

YOU ARE HEREBY COMMANDED to arrest

and bring him or her forthwith to the nearest magistrate to answer a(n)

[_] Indictment [] Superseding Indictment

C] Information [_] Superseding Information
[-] Complaint

C] Order of court [_] Violation Notice [_] Probation Violation Petition

Supervised Release Violation Petition
; charging him or her with (brief description of offense)

Alleged Violation of Supervised Release

 

 

 

 

 

 

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in violation of is © United States Code.
im .
D. Mark Jones Clerk of Court at “O .
Name of Issuing Officer Title of Issuing Officer = ” s
. . xc = =o
AA .n_, ? May 30, 2014 at Salt Lake City, Utah fe ‘
Signature of Issuing Officer Date and Location =
By: Brittany Robinson
Deputy Clerk
Bail fixed by
Name of Judicial Officer
RETURN
This warrant was received and executed with the arrest of the above-named defendant at

 

 

DATE RECEIVED
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Zomay '14

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un

 

NAME AND TITLE OF ARRESTING SIGNATURE OF ARRESTING OFFICER
OFFICER

 

 

 

 

 

 

 
